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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 STATE OF ALASKA, DEPARTMENT                )
 OF TRANSPORTATION & PUBLIC                 )
 FACILITIES,                                )
                                            )
              Plaintiff,                    )   Case No.: 3:20-cv-00306-JWS
                                            )
 v.                                         )
                                            )   SCHEDULING AND PLANNING
 2.396 ACRES MORE OR LESS NEAR              )   CONFERENCE REPORT
 BETHEL, ALASKA, et al.,                    )
                                            )
              Defendants.                   )
                                            )

I.    Meeting.

      In accordance with Rules 16(a) and 26(f), Federal Rules of Civil Procedure, and

with Local Civil Rules 16.1 and 26.1(b), the parties conferred on June 30, 2021; the

following persons participated: Max Garner (Alaska Department of Transportation &




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 Public Facilities); Jacquelyn Traini (Bureau of Indian Affairs); and Steve Tervooren

(Earl Polk III, Warren Polk; Vincento Polk and Jason Polk).

      The parties recommend the following:

II.   Discovery Plan.

      A.   Timing, Form and Disclosure Requirements. Please refer to Rule

           26(f)(3)(A), Federal Rules of Civil Procedure. Are there changes that the

           parties are proposing to that rule for this case under Rule 26(a)?

           Yes ☐     No ☒

      B.   Initial Disclosures / Preliminary Witness Lists.

           1. The information required by Rule 26(a)(1), Federal Rules of Civil

                Procedure:

                (a) ☐    Has been exchanged by the parties.

                (b) ☒    Will be exchanged by the parties on or before: October

                    22, 2021.

           2. Preliminary witness lists:

                (a) ☐    Have been exchanged by the parties.

                (b) ☒    Will be exchanged by the parties on or before:

                    October 22, 2021.




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           3. Disclosure Statement. The disclosure requirements of Rule 7.1,

               Federal Rules of Civil Procedure:

               (a) ☐     Have been complied with.

               (b) ☐     Compliance will be accomplished on or before _______.

               (c) ☒     Rule 7.1 is not applicable.

      C.   Subjects and Timing of Discovery.       See Rule 26(f)(3)(B), Federal Rules of

           Civil Procedure.

           1. List the subjects on which discovery may be needed:

               a.   Just compensation and related appraisal issues.

               b. Project design and design alternatives.

           2. Should discovery be conducted in phases or limited to or focused

               on particular issues?   Yes ☐     No ☒

           3. Absent good cause, the proposed date for completion of all

               discovery should be no later than twelve months from the date of

               this report:

               Response:      The parties propose October 7, 2022 for the close of

               discovery. This will be required to address issues in getting

               appraisal experts to the Bethel area during limited summer

               months.     This is unlikely to occur during the summer of 2021.



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           4. Final Discovery Witness List.            A final discovery witness list

                disclosing all lay witnesses whom a party may wish to call at trial

                shall be served and filed on July 8, 2022. 1

           5. Close of Fact Discovery.          Fact discovery will be completed on

                or before:    October 7, 2022.

           6. Expert Discovery. See Rule 26(a)(2), Federal Rules of Civil Procedure.

                (a) Expert witnesses shall be identified by each party on or

                     before April 8, 2022, and each party may identify responsive

                     supplemental expert witnesses within 14 days thereafter.

                (b) Expert disclosures (reports) required by Rule 26(a)(2) will be

                     disclosed:

                     (i) By all parties on or before N/A; or

                          By plaintiff(s) on or before July 8, 2022, and by

                          defendant(s) on or before August 19, 2022;

                     (ii) Rebuttal reports on or before 30 days from the service of

                          the report being rebutted.

                (c) Expert witness discovery (include depositions) shall be completed

                     by: October 7, 2022.




1     Each party shall make a good faith attempt to list only those lay witnesses that the party
      reasonably believes will testify at trial.
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      D.   Preserving Discovery and Electronically Stored Information (ESI)

           1. Are there issues about the disclosure, discovery, or preservation of ESI,

                including the form or format in which it should be produced? See Rule

                26(f)(3)(C), Federal Rules of Civil Procedure.

                Yes ☐    No ☒

           2. Please state how ESI should be produced: N/A

           3.   Are there issues with preserving non-ESI discovery?

                 Yes ☐    No ☒

      E.   Claims of Privilege or Protection of Attorney Work Product See

           Rule 26(f)(3)(D), Federal Rules of Civil Procedure.

           1. ☒     There is no indication that this will be an issue.

           2. ☐     The parties have entered into a confidentiality agreement.

           3. ☐     The parties will file their proposed confidentiality agreement

                    on or before:

      F.   Limitations on Discovery.      See Rule 26(f)(3)(E), Federal Rules of

           Civil Procedure.

           1. ☒     The limitations contained in Rules 26(b), 30, and 33, Federal

                    Rules of Civil Procedure, and in Local Civil Rules 30.1 and

                    36.1, will apply except as indicated below.


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           2. ☐     The maximum number of depositions by each party will not

                    exceed N/A.

                    (a) ☐    Depositions will not exceed N/A hours as to any

                             deponent.

                    (b) ☐    Depositions will not exceed N/A hours as to

                             non-party deponents.

                    (c) ☐    Depositions will not exceed N/A hours as to party

                             deponents.

           3. ☐     The maximum number of interrogatories posed by each party

                    will not exceed N/A.

           4. ☐     The maximum number of requests for admissions posed by

                    each party will not exceed N/A.

           5. ☐     Other limitations: N/A.

      G.   Supplementation of Disclosures and Discovery Responses.            Please refer

           to Rule 26(e)(1) and (e)(2), Federal Rules of Civil Procedure.     Do the

           parties request that the Court enter an order that is different from these rules

           (e.g. supplementation at 30-day intervals)?

           Yes ☐    No ☒



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III.   Pretrial Motions.

       A.   Are there preliminary motions as to jurisdiction, venue, arbitration, and/or

            statutes of limitation that should be filed within 60 days?

            Yes ☐    No ☒

       B.   Motions must be served and filed within the times specified in applicable

            rules. Complete the following only if the parties are proposing deadline(s)

            that are different from the applicable rules:

            1. Motions to amend pleadings or add parties will be filed not later than

                October 8, 2021. Thereafter, a party must seek leave of the Court to

                modify this deadline. See Rule 16(b)(3)(A) and (4), Federal Rules of

                Civil Procedure.

            2. Motions under the discovery rules will be filed not later than: October 7,

                2022.

            3. Dispositive motions (including motions for summary judgment) will be

                filed not later than January 13, 2023.

            4. Motions to exclude expert testimony shall be filed and served not later

                than: January 13, 2023.

IV.    Trial.

       A.   The case is expected to take: 5 days.

       B.   Has a jury trial been demanded?     Yes ☐       No ☒


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      C.   Is the right to jury trial disputed?      Yes ☐     No ☒

      D.   The parties ☐ do / ☒ do not request the scheduling of a trial date at this

           time. 2

           1. If a trial date is requested at this time, the parties’ report shall include a

                minimum of three alternative dates for the start of the trial, at least two of

                which are 5 to 7 months from the close of all discovery.

           2. If a trial date is not established at this time, the court will call upon the

                parties to certify that the case is ready for trial as provided in Local Civil

                Rule 40.1(b).

V.    Other Provisions.

      A.   Court Conference.         The parties ☒ do / ☐ do not request a conference with

           the court before entry of a scheduling order.

           Reason for Conference:        At present the parties are grappling with the issue

           of whether the provisions of Alaska Civil Rule 72(h)(3) are applicable in the

           context of this proceeding. Under that provision, the superior court appoints a

           master who will “hear evidence and ascertain the amount to be paid by

           plaintiff.” Id. The master thereafter submits a report to the court with his/her



2     The decision of whether to establish a trial date at this stage of the proceedings rests with
      the discretion of the assigned judge. Counsel and self-represented parties are advised to
      contact the assigned judge’s Data Quality Analyst (DQA) to determine the judge’s
      practice for establishing a trial date.
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           findings regarding just compensation. See Alaska Civil Rule 72(h)(4). Either

           party may thereafter submit an appeal for a trial de novo, with Alaska Rule

           72(h)(6) providing that a jury trial may be demanded within 20 days of an

           appeal being filed.

                The Alaska Department of Transportation & Public Facilities is

           amenable to following that course here, but is reluctant to do so without first

           seeking the Court’s concurrence that utilizing the procedures called for in

           Alaska Civil Rule 72(h) is permissible and appropriate under Fed.R.Civ.P.

           71.1(k). The Court would also have to appoint the master agreed to by the

           parties, or appoint a master from lists submitted by the parties if no

           agreement could be reached on that issue.

                 If the Court determines that the parties may go forward with a master’s

           hearing in this matter, the parties propose a deadline of August 16, 2021, for

           the parties to either submit a stipulation as to the agreed upon master, or if an

           agreement cannot be reached, a list of proposed candidates from which the

           Court can select. Some adjustment of the discovery deadlines herein may be

           required in the future depending on the master’s schedule and availability.

      B.   Consent to Proceed before a Magistrate Judge.

           The parties ☐ do / ☒ do not consent to trial before a magistrate judge.




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      C.   Early Settlement / Alternative Dispute Resolution.

           1. Do the parties request immediate assistance by way of a

               settlement conference or alternative dispute resolution?

               Yes ☐     No ☒

           2. Do the parties wish to consider private mediation or a settlement

               conference with a judicial officer of this court at a later date?

               Yes ☒     No ☐

      D.   Related Cases.    Are the parties aware of any related cases as defined by

           Local Civil Rule 16.1(e)?    Yes ☐     No ☒

VI.   Report Form.

      A.   Have the parties experienced a problem in using this form?

           Yes ☐    No ☒

      B.   Are there additional subjects that the parties would propose to add to this

           form?   Yes ☐     No ☒




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      DATED: July 8, 2021.

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                                 Certificate of Service

I certify that on July 8, 2021 the foregoing was served via the court’s ECF system on:

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